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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

EGRES SOCIETY, CORP., et al., *
                              *
     Plaintiffs,              *
                              *        CIVIL ACTION FILE
     -vs-                     *
                              *        No. 1:18-cv-01586-TWT
CITY OF BROOKHAVEN, GEORGIA, *
                              *
     Defendant.               *

             PLAINTIFFS’ BRIEF IN OPPOSITION TO
           CITY OF BROOKHAVEN’S MOTION TO DISMISS

     I.   Introduction.

     In their complaint, the plaintiffs have detailed the

City’s recent efforts to step-up code enforcement (e.g.,

building, health, and fire inspections) against its African

American and Latino restaurants.      Along with this targeting,

the City adopted an ordinance barring “disc jockey[s]” from

working in restaurants.     All this, the plaintiffs believe

they can prove, is part of the City’s plan to eliminate (or

severely curtail) the plaintiffs’ type of business.         Here,

through a motion to dismiss, the City first wants to argue

the merits, and, failing that, wants this Court to abstain

from hearing the federal claims.      As explained below, this

forum is precisely the place to raise such claims.

     A.   The plaintiffs have standing to bring their

          claims.
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       The City says the plaintiffs “have not alleged facts

“showing that they qualify as restaurants.”         [Doc. 8-1 at

3.]1       Not true.   The plaintiffs pled that the City issued

alcohol licenses to them for years, each time recognizing

them as restaurants.         And they have pled that they wish to

remain restaurants.         Perhaps viewing this as pleading a

conclusion rather than as pleading a fact, the City insists

the plaintiffs must plead that they satisfy the “60%

requirement for food sales.”         [Doc. 8-1 at 6.]   That too is

not true.       In order to show redressability in this case, the

plaintiffs need not plead that they have sufficient parking

spaces, adequate hood ventilation systems, and functioning

grease traps; such benign criteria are ancillary to the

issue at hand.         While standing is certainly required to

invoke the Court’s subject matter jurisdiction, it should

not be used as a shield to litigating meritorious claims.

       The complaint is clear.       In it the plaintiffs are

together referred to as “the Restaurants.”         [Doc. 1, ¶ 81.]

In late 2014, after XS obtained its certificate of

occupancy, the City issued XS a license to operate a

restaurant serving alcoholic beverage of liquor, beer and


       1
       The plaintiffs use the page numbers generated by the
CM/ECF system.

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wine.       [Doc. 1, ¶ 36.]   On June 29, 2015, the City issued a

certificate of occupancy for Josephine’s location (Suite

610).       It describes the structure as a

“commercial-restaurant.”       [Doc. 1, ¶ 42.]    On July 29,

Josephine applied for and obtained an occupational tax

certificate from the City. In that application, Josephine

indicated that its dominant business activity would be a

“restaurant.”       [Doc. 1, ¶ 43.]     In 2016, Medusa applied to

the City for an alcoholic beverage license to operate a

restaurant serving liquor, beer and wine with Sunday sales.

[Doc. 1, ¶ 70.]      As stated in their renewal applications,

the Restaurants were properly categorized as “restaurants”:

None has a stage; none has a dance floor; and none employs

what it considers a classic “disc jockey.”         See § 4-103

(defining “entertainment venue”). [Doc. 1, ¶ 83.]2

        Discovery will show that the plaintiffs each initially

applied to the City for an alcohol license as a restaurant

(Josephine in 2015; Medusa and XS in 2014); their

certificates of occupancy classify them as restaurants;

their business licenses list them as full-service



        2
       Indeed Count 4 asserts a claim for the City’s failure
to “recognizing XS’s prior nonconforming use as a restaurant
or a late night establishment.” [Doc. 1, ¶ 117.]

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restaurants; and each renewal application (before the new

categories in Ordinance 2017-10-02) for the plaintiffs were

as ‘restaurants.’3

     Departing the four corners of the complaint, the City

offers commercial advertisements posted by the plaintiffs

and assumes, based on these ads, the plaintiffs must “derive

the overwhelming majority of their income from alcohol sales

and cover charges, not from the sale of ‘prepared meals and

food.’”   [Doc. 8-1 at 6.]    But these advertisements are not


     3
       Even the preliminary evidence tendered in this case
backs up these allegations. In his affidavit supporting the
motion for preliminary injunction, Besher states: “In 2016,
Medusa applied to the City for an alcoholic beverage license
to operate a restaurant serving liquor, beer and wine with
Sunday sales.” [Doc. 3-6, ¶ 5.] Besher repeatedly states
that his establishment is a “restaurant.” [Doc. 3-6, ¶ 4,
5, 6.] Kedir likewise averred that “In February 2014, XS
applied to the City for a Special Land Use Permit (“SLUP”)
to operate a late-night establishment within 1,500 of
residentially zoned property. In that application, XS
proposed to operate as an upscale full-service restaurant.
It also indicted that it would to employ a deejay but would
use low noise so that customers could converse with one
another.” [Doc. 3-7, ¶ 4, Kedir repeatedly refers to his
establishment as a “restaurant.” [Doc. 3-7, ¶¶ 2, 4, 5, 7,
9, & 10.] Deutou too averred that “On June 29, 2015, the
City issued a certificate of occupancy for Josephine’s
location (Suite 610). It describes the structure as a
“commercial-restaurant.” [Doc. 3-5, ¶ 4.] And that “On
July 29, Josephine applied for and obtained an occupational
tax certificate from the City. In that application,
Josephine indicated that its dominant business activity
would be a “restaurant.” [Doc. 3-5, ¶ 5.] Deutou
repeatedly refers to his establishment as a “restaurant.”
[Doc. 3-7, ¶¶ 4, 5, 9, 11, 15, 16, 17, 18, & 19.]

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central to the claims in this lawsuit, and the inferences

that the City draws from them are disputed.        They are not

properly considered on the City’s motion.

     What the City is really challenging here are the merits

of the case.   But whether the City ultimately proves its

version of the facts is simply not material at this stage.

Cf. Moody v. Holman, 887 F.3d 1281, 1287 (11th Cir.), cert.

denied sub nom. Moody v. Stewart, 138 S. Ct. 1590

(2018)(holding standing exists and noting “If Alabama were

correct, then a plaintiff who ultimately loses on the merits

(and by definition did not have a substantive right to

relief) would never have had standing to pursue his or her

claims in the first place. The law does not countenance,

much less demand, such a result.”)(citing Bell v. Hood, 327

U.S. 678, 682 (1946)(“Jurisdiction ... is not defeated ...

by the possibility that the averments might fail to state a

cause of action on which petitioners could actually

recover.”), and Chafin v. Chafin, 568 U.S. 165, 174

(2013)(explaining that an argument regarding “the legal

availability of a certain kind of relief” goes to the

merits, and that the “prospects of success are therefore not

pertinent to the mootness inquiry”)).

     Ignoring the complaint, the City argues that the

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plaintiffs “are all ‘nightclubs,’ a kind of ‘late-night

establishment’ that is prohibited under the Zoning Ordinance

from operating within 1,500 feet of residential areas.”

[Doc. 8-1 at 3; see also id. at 8-10.] The City cites to

Doc. 7-5 for the proposition that “by selling alcohol,

employing DJs, and allowing dancing,” the plaintiffs

“qualify as the ‘nightclub’ variety of a late night

establishment.”   [Doc. 8-1 at 9.]     Yet nowhere does Doc. 7-5

say the plaintiffs allow dancing or qualify as nightclubs.

There is a good reason for that.      Years ago, the City

essentially gave up on its ‘late-night establishment’

ordinance, as discovery will show, which is why it has

knowingly allowed not just Medusa and Josephine to operate

after 12:30 p.m., but it has allowed every alcohol licensed

venue located within 1,500 feet of a residentially zoned

property to operate during those hours (without a SLUP).4

     Going further into the merits of the case, the City

suggests that because each plaintiff “is within 1,500 feet

of residentially zoned property, ... they cannot operate at

their current locations without a special land use permit.”


     4
       If the Court believes that this fact is material to
establish standing, the plaintiffs request discovery and an
opportunity to amend their complaint to allege and prove the
fact.

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[Doc. 8-1 at 9 (citing Doc. 7-6 (measurements from each

establishment to residential areas within 1,500 feet).)          In

discovery no one will dispute that the plaintiffs are

located within 1,500 of residential property.        But that is

not the issue.   The City abandoned enforcement of its SLUP

requirement for late-night establishments.

     Delving further into them merits, the City argues that

even though XS has a special land use permit, that permit is

immaterial because XS “obtained the permit under false

pretenses.”   [Doc. 8-1 at 9.]     Again referencing exhibits

outside the complaint, the City says that “XS has been

operating a nightclub, in direct contravention of its

promise.”   [Doc. 8-1 at 9.]    Ths is more smoke and mirrors.

But is also disputed -– XS is not a “nightclub” nor, as pled

in the complaint, has the City ever refused to renew the

alcohol license on the grounds that XS is a nightclub.           What

the City indirectly argues for on its 12(b)(6) motion is a

summary revocation of XS’s SLUP status.       For these reasons,

the plaintiffs have standing to bring their claims.

     B.     Because the resolution of the state
            proceeding will not preclude the adjudication
            of the federal claims here, by definition
            there is no claim-splitting.

     In Vanover v. NCO Fin. Servs., Inc., which was a “first


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impression in this Circuit,” the Eleventh Circuit held that

“the test for claim-splitting ‘is not whether there is

finality of judgment, but whether the first suit, assuming

it were final, would preclude the second suit.’”         857 F.3d

833, 836, 841 (11th Cir. 2017)(quoting Katz v. Gerardi, 655

F.3d 1212, 1217 (10th Cir. 2011)).       In applying the

claim-splitting test, courts are to apply the rules of res

judicata.   See Katz, 655 F.3d at 1219 (“The proper question

is whether, assuming the first suit was already final, the

second suit would be precluded under res judicata

analysis.”).

     The term “res judicata” encompasses the related

doctrines of claim preclusion and issue preclusion (also

known as collateral estoppel).        Cmty. State Bank v. Strong,

651 F.3d 1241, 1263 (11th Cir. 2011).       In determining the

proper preclusive effect in federal court of a state court

decision, federal law generally dictates that a federal

court is to apply the state court rule of preclusion.            Id.

at 1263 (citing Kizzire v. Baptist Health Sys., Inc., 441

F.3d 1306, 1308 (11th Cir. 2006)).

     Under Georgia law, “claim preclusion will bar a

plaintiff’s action if the plaintiff has brought another

action [1] based on the same subject matter, [2] the

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plaintiff had a full and fair opportunity to litigate the

other action, [3] the other action resulted in an

adjudication on the merits, and [4] the other action was

against the same defendant or its privy.”        Sorrells Const.

Co. v. Chandler Armentrout & Roebuck, P.C., 214 Ga. App.

193, 194 (1994)(citing Fowler v. Vineyard, 261 Ga. 454(1)

(1991); O.C.G.A. § 9-12-40)(emphasis added).

     Applying the test from Sorrells, the City cannot

satisfy the elements of preclusion, assuming there were a

final judgment in the certiorari proceeding, meaning that

there is no claim-splitting under Vanover.        The City cannot

demonstrate that the state certiorari proceeding and this

federal action are “based on the same subject matter” or

that “the plaintiff[s] had a full and fair opportunity to

litigate the other action.”     Because the only element the

City can establish is mutuality of parties, its

claim-splitting defense fails.

     1.   The certiorari proceeding is limited in
          scope.

     Georgia law provides for review of quasi-judicial

decisions, by writ of certiorari, from any inferior

tribunal, see O.C.G.A. § 5-4-1, as does Georgia common law,

see City of Cumming v. Flowers, 300 Ga. 820, 823 (2017).         On


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certiorari from an inferior tribunal to a superior court,

“[t]he scope of review shall be limited to all errors of law

and determination as to whether the judgment or ruling below

was sustained by substantial evidence.”        O.C.G.A. § 5-4-12.

     The “subject matter” for preclusion purposes in the

certiorari proceeding is inherently limited to the City of

Brookhaven Alcohol Board’s denial of the plaintiffs’ liquor

license renewal applications.      The plaintiffs cannot seek

damages in the state action.      See, e.g., Lockette v. City of

Albany, No. 1:05 CV 39(HL), 2005 WL 1926578, at *1 (M.D. Ga.

Aug. 11, 2005)(recognizing that there is no right to seek

damages in certiorari proceedings).       Further, the federal

plaintiffs cannot raise affirmative constitutional claims,

cannot enjoin the operation of the City’s unconstitutional

zoning scheme, and cannot seek attorney’s fees under 42

U.S.C. § 1983 or O.C.G.A. § 13-6-11.       See id. at *4

(“[O]ther causes of action or forms of relief may not be

pursued within the writ of certiorari.”); City of Atlanta v.

Jackson, 263 Ga. 426, 435 S.E.2d 212, 214 (1993)(holding

that where the writ of certiorari provided an adequate legal

remedy for review of a county board's authority, the

petitioner on the writ could not also seek equitable

relief).

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     Here, the plaintiffs seek relief that is not available

to them in the certiorari proceedings.        They seek an

injunction barring future enforcement of the City’s

licensing scheme on a variety of constitutional grounds,

including the facial invalidity of the scheme on First

Amendment and the as-applied validity of the scheme on

selective enforcement grounds.      They seek relief under the

Takings Clause.    And the plaintiffs seek damages and

injunctive relief that they cannot obtain in the state

certiorari proceedings.     Application of the claim-splitting

doctrine on these facts would raise serious constitutional

concerns because it would bar the plaintiffs from seeking a

damages remedy in any forum, and it would severely

circumscribe the equitable relief the plaintiffs could

obtain.   Even if the state certiorari proceeding terminated

before this action, preclusion could not bar this federal

action.   Thus claim-splitting is not applicable.

     2.    The certiorari proceeding does not provide a
           full and fair opportunity to litigate the
           relevant claims.

     A key tenet of res judicata is that before a party is

barred from asserting a claim, the party must have been

afforded at least one opportunity to fully and fairly

litigate the claim.    This requirement is embodied into the

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Georgia law of preclusion, which has, as one element, the

requirement that “the plaintiff[s] had a full and fair

opportunity to litigate the other action.”        Sorrells, 214

Ga. App. at 194; see also Morris v. May, 570 F. App’x 903,

905 (11th Cir. 2014)(“[P]reclusion only applies when a party

has had a ‘full and fair opportunity to litigate’ the claims

and issues settled in a previous suit.” (quoting Taylor v.

Sturgell, 553 U.S. 880, 892–93 (2008)). Because of the

procedural shortcomings inherent to a certiorari proceeding,

the plaintiffs would not be entitled to a full and fair

litigation of the claims that they raise in this federal

suit.    This lack of a full and fair opportunity to litigate

represents a separate and independently sufficient ground

upon which to deny the City’s claim-splitting defense.

        There was no opportunity to adequately develop a legal

and factual record in the Alcohol Board proceedings, and by

definition, the certiorari proceeding is limited to the

record below.    Under Georgia law, the scope of review on

certiorari is limited to those errors raised and presented

for decision in the lower tribunal and raised in the

petition.    See Willis v. Jackson, 148 Ga. App. 432, 434

(1978).    Further, “[t]he appropriate standard of review to

be applied to issues of fact ... is whether the decision

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below was supported by any evidence.”       City of Atlanta Gov’t

v. Smith, 228 Ga. App. 864, 865 (1997).

     The procedures of the City’s Alcohol Board only allow

for limited factual development.       The appeal process allows

for submissions on such matters including [1] consideration

that acts were not known or should not have been known to

the licensee, [2] were not condoned by the licensee, [3]

that the licensee has established practices to prevent such

violations from occurring, and [4] that the licensee has not

failed to properly train or supervise the employees to

prevent the violation from occurring.       See Brookhaven Code

Ord. Sec. 4-211(b).    None of the facts or law related to

Counts 1–5 of the plaintiffs’ federal complaint could have

or would have been considered before the Alcohol Board.

     Other deficiencies of certiorari prevent res judicata

effect to attach.    First, in certiorari proceedings, there

is no right to discovery, which means that the federal court

plaintiffs were not able to fully litigate even their

entitlement to a liquor license renewal.        See Charles Alan

Wright, et al., 18 Fed. Prac. & Proc. Juris. § 4423 (3d

ed.)(“A number of opinions, for example, have suggested that

differences in the rules of discovery or inability to make

full use of discovery or evidence in the first forum may

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justify subsequent relitigation.”); West v. Ruff, 961 F.2d

1064, 1066 (2d Cir. 1992)(one factor in court’s decision

that plaintiff lacked a full and fair opportunity to

litigate his claim in state court was lack of sufficient

discovery relating to availability of witnesses).         Second,

there is no right to seek damages in certiorari proceedings.

See, e.g., Lockette, 2005 WL 1926578, at *1.         In this case,

the plaintiffs’ complaint requests compensatory damages as

relief.   [Compl. at 45.]    Georgia law allows for the

recovery of costs, only, on certiorari. O.C.G.A. § 5-4-16.

Where a party cannot even obtain the anything close to the

type of relief they seek, there has not been a full and fair

litigation.

     Based on the fundamental difference in the nature of

the state certiorari proceedings and the federal civil

rights action, most especially the limited scope of the

issues involved in the certiorari action and the limited

tools available to develop even those issues, the federal

civil rights suit would not be fully precluded by any

hypothetical resolution of the certiorari proceedings.            The

claim-splitting doctrine does not apply.

     C.    The plaintiffs are willing to dismiss their
           state certiorari action were this Court to
           exercise its supplemental jurisdiction to

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            hear those claims.

     The plaintiffs have each filed certiorari petitions in

state court on their alcohol license denials.         Certiorari

proceedings are considered “special statutory proceedings”

under O.C.G.A. § 9-11-81 and thus the Civil Practice Act

applies.   See Buckler v. DeKalb Cty., 290 Ga. App. 190, 191

(2008).    The certiorari proceedings may be dismissed

voluntarily by the plaintiffs.      O.C.G.A. § 9-11-41(a)(1).

Federal courts have the power to assume supplemental

jurisdiction over state court certiorari proceedings.             See

generally, Flava Works, Inc. v. City of Miami, 609 F.3d 1233

(11th Cir. 2010)(holding that district court properly

assumed supplemental jurisdiction to consider a certiorari

petition directed to a Florida code enforcement board).

     Here, the plaintiffs wish to dismiss their state court

petition for certiorari, for reasons described below.             Once

there are no longer pending state court proceedings for this

court to review, the City’s bases for arguing

claim-splitting disappear.      If the City is truly concerned

with docket management, this posture would best serve the

judicial interests that motivate the claim-splitting

doctrine, which is aimed to “conserve[] judicial resources.”

Vanover, 857 F.3d at 841.     Dismissal of the state-law

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certiorari petition while this action continues, should this

Court assume jurisdiction of the certiorari proceeding,

would “shield parties from vexatious and duplicative

litigation,” id. at 843, and dismissal for claim-splitting

would be all the more inappropriate in this case.

     D.    Pullman absention is inappropriate.

     The City urges the Court to exercise Pullman abstention

rather than assume jurisdiction over this case.         [See Doc.

8-1 at 13 (citing R.R. Comm’n of Tex. v. Pullman Co., 312

U.S. 496 (1941)).    Pullman abstention of course is a narrow,

judicially created exception to the general grant of federal

jurisdiction found in Article III of the Constitution.

Abstention under Pullman is also discretionary rather than

jurisdictional.    See Siegel v. LePore, 234 F.3d 1163, 1174

(11th Cir. 2000)(explaining that Pullman “abstention is

discretionary”).

     “[T]here is a presumption in favor of retention of

federal jurisdiction once obtained.”       BT Inv. Managers, Inc.

v. Lewis, 559 F.2d 950, 953–54 (5th Cir. 1977).         To overcome

that presumption, two elements must be met: (1) the case

must present an unsettled question of state law, and (2) the

question of state law must be dispositive of the case or

likely to materially alter the constitutional question

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presented.    Siegel, 234 F.3d at 1174; accord Nasser v. City

of Homewood, 671 F.2d 432, 439 (11th Cir. 1982)(“The issues

of state law must be substantially uncertain or ambiguous,

necessitating a construction by the state supreme court.

Moreover, there must be a likelihood that their resolution

would moot or present the federal constitutional questions

in a different posture.”).      Even after the two prongs of the

test are met, the Court still may exercise its discretion to

retain jurisdiction.     Cate v. Oldham, 707 F.2d 1176, 1184

(11th Cir. 1983).    Here, the City fails to meet either prong

of this test, and thus cannot overcome the strong

presumption in favor of this Court’s due application of its

jurisdiction.    Finally, Pullman abstention is inappropriate

in situations like this one, where a plaintiff has

challenged laws on the basis that they restrict free

expression.

     1.      The first prong of the Pullman test is not
             met.

     The City argues that the Court should abstain under

Pullman based on the existence of one disputed issue, of the

many underlying this action: whether as the plaintiffs

contend, the restaurants’ license fees are capped at $5,000,

per O.C.G.A. § 3-4-48; or whether as the City contends, the


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fees are governed by a different Georgia statute and thus

not subject to a cap.     The City urges there is a lack of

judicial interpretation of O.C.G.A. § 3-4-48.         [See Doc. 7

at 16 (“Thus, the issue has not been definitively settled by

the Georgia courts; in Pullman terms, it is unsettled.”).]

     Taking the City’s argument at face value, it has failed

to satisfy the first prong of the Pullman test.         It is

established (and commonsensical) that the absence of a

“definitively settled” point of state law will not deprive a

federal court of jurisdiction.      See BT Inv. Managers, Inc.

v. Lewis, 559 F.2d 950, 954 (5th Cir. 1977)(“While it is

true ... that the statutes here in question have yet to be

construed by the [state] courts, mere absence of judicial

interpretation does not necessarily render their meaning

unsettled or uncertain.”).      Here, the City has not shown

that the state law issue is “substantially uncertain or

ambiguous [and] necessitating a construction by the state

supreme court.”    Nasser, 671 F.2d 432, 439.      Similarly, the

provision in question is not a new one.        Cf. Richard H.

Fallon, Jr. et al., The Federal Courts and the Federal

System 1067 (6th ed. 2009)(“The newness of a state statute

and the total absence of judicial precedent are clearly

significant considerations.”).      An old statute that does not

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affect the comity concerns underlying the Pullman doctrine

does not satisfy the requirement that state law be so

ambiguous or unsettled that it would be inappropriate for

construction by a federal court.       Thus, the City has failed

to clear the first hurdle, meaning that it cannot overcome

the presumption against abstention.

     2.    The second prong of the Pullman test is not
           met.

     Here, the plaintiffs have challenged an array of

enactment and enforcement activities that, at their core,

affect federal constitutional rights.       In mounting its

Pullman defense, the City has pointed only to a single

purportedly open question of state law that occupies only a

small portion of the frame of this litigation.         In any

event, regardless of whether the state law issue is settled,

and whatever its resolution in state court, the bulk of the

federal law issues will remain.        Resolution of the state law

issues will not moot the matter or substantially change its

posture, meaning that there is neither comity not efficiency

to be gained were this Court to abstain.

     The City urges this Court to exercise Pullman

abstention based on the unavailability of state court

opinions on the interpretation of a particular statute,


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O.C.G.A. § 3-4-48.      It suggests that resolution of this

purported question could moot the action because “the

Ordinance’s higher fees will be deemed invalid under state

law.”       [Doc. 8-1 at 15.]

        But in this case, the plaintiffs have requested

additional forms of relief, including damages, for

additional causes of action, such that resolution of the

purported issue identified by the City will not moot the

action.      The plaintiffs seek damages for the City’s use of

its alcohol code, and its building and fire codes, to shut

down particular restaurants for reasons that are

constitutionally impermissible.        The plaintiffs allege that

numerous provisions of the Brookhaven Code have led to

violations of their First Amendment rights (count 1),5 Due

Process rights (count 2),6 and rights to Equal Protection




        5
       The Plaintiffs’ restaurants have been reclassified as
“entertainment venues” under provisions of Brookhaven’s
Municipal Code. Such restaurants are no longer permitted to
sell alcoholic beverages on Sundays, which are traditionally
the busiest day for such restaurants. [Doc. 1, ¶ 24.]
        6
       Under the Alcohol Code as amended, entertainment
venues are required to retain additional security personnel
and off-duty police officers. [Doc. 1, ¶¶ 25, 26.] These
provisions affect the Plaintiffs irrespective of the license
fee issue.

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(count 3).7      Those violations are not caused solely by

operation of the a particular licensing fee.

        Because the plaintiffs seek multiple forms of relief by

challenging numerous provisions of the City Code, the

potential resolution of the single state law question

identified by the City fails the second prong of the Pullman

test.       Abstention on these facts would amount to punting the

federal issues to the state court which would possibly never

hear them, while resolution of the state law issue would not

be guaranteed.      On similar grounds, the Eleventh Circuit has

found abstention to be an abuse of discretion.         See Pittman

v. Cole, 267 F.3d 1269, 1288 (11th Cir. 2001)(“[W]e conclude

that the district court’s abstention order is defective both

because it granted the plaintiffs relief of potentially



        7
       In 2015, Plaintiff Josephine Restaurant and Lounge
was targeted for heavy-handed code enforcement. [Doc. 1, ¶¶
49–52.] Josephine was also subjected to a music and dancing
ban in a manner that was not applied to other alcohol
service businesses in the City. [Doc. 1, ¶¶ 53–64.]

     Throughout 2017, the City subjected all three
restaurants to stepped-up enforcement of city and county
ordinances. The City assembled officials from DeKalb County
police and fire departments, as well as city police, code
enforcement, building and fire personnel, to inspect the
restaurants with greater frequency than other alcohol
licensed establishments. [Doc. 1, ¶ 81.]



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indefinite duration without ensuring that the state law

issues would ever be presented to the state courts, and

because the decision to abstain was designed to have the

state courts decide the federal constitutional issues that

the plaintiffs had first presented to the federal courts.”).

     More fundamentally, in this case, the plaintiffs do not

allege a facial constitutional challenge to the licensing

fee question embodied in O.C.G.A. § 3-4-48.        Rather, the

plaintiffs maintain that the City violated state law in

imposing this licensing fee, and, separately, the plaintiffs

maintain that the City violated federal law under a series

of distinct theories with different factual bases.

Abstention here would be inappropriate because those issues

could not be resolved no matter how a state court decides

the O.C.G.A. § 3-4-48 question.

     3.    Abstention is especially disfavored in
           challenges to laws that burden free speech.

     The Supreme Court has held that Pullman abstention is

particularly suspect in cases where statutes are attacked on

their face as abridging free expression.        See Zwickler v.

Koota, 389 U.S. 241, 252 (1967)(“[T]o force the plaintiff

who has commenced a federal action to suffer the delay of

state court proceedings might itself effect the


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impermissible chilling of the very constitutional right he

seeks to protect.”); Cate v. Oldham, 707 F.2d 1176, 1184–85

(11th Cir. 1983)(“Given that this is a First Amendment case

alleging immediate and ongoing irreparable injury, and

considering the great costs imposed by abstaining in this

type of case, we decline to invoke Pullman abstention.”).

In Count 1 of their complaint, the plaintiffs challenge

numerous provisions of the City’s Code as violating the

First Amendment by chilling expressive conduct and otherwise

targeting protected forms of speech.       [Doc. 1, ¶ 106.]       They

allege irreparable injury based on denial of important

constitutional rights, including those protected by the

First Amendment.    The City thus have a particularly high bar

to overcome the presumption against Pullman abstention --

even if they could establish the elements of Pullman. Cf.

id. at 1184 (declining to abstain under Pullman despite

satisfaction of prerequisites).        However, because the City

has failed to clear either of the threshold limitations on

Pullman, its claimed entitlement to abstention should be

rejected.

     II.     Conclusion.

     For these reasons, the City’s motion to dismiss should

be denied.

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     This 11th day of June, 2018.

                                  Respectfully submitted,

                                  WIGGINS LAW GROUP


                                  BY:/s/ Cary S. Wiggins
                                  Cary S. Wiggins
                                  Ga. Bar No. 757657
Suite 401
260 Peachtree Street, NW
Atlanta, Georgia 30303
Telephone: (404) 659-2880
Facsimile: (404) 659-3272
cary@wigginslawgroup.com




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                     CERTIFICATE OF SERVICE

     I certify that I have this day served upon the below-

listed person a copy of the foregoing PLAINTIFFS’ BRIEF IN

OPPOSITION TO CITY OF BROOKHAVEN’S MOTION TO DISMISS with

the Clerk of the Court using the CM/ECF system which will

automatically send email notification of such filing to the

following attorneys of record:


     Scott D. Bergthold, Esq. and
     Bryan A. Dykes, Esq.
     Law Office of Scott D. Bergthold
     2290 Ogletree Ave, Suite 106
     Chattanooga TN 37421



     This 11th day of June, 2018.




                                  BY:/s/ Cary S. Wiggins
                                  Cary S. Wiggins
                                  Ga. Bar No. 757657
WIGGINS LAW GROUP
Suite 401
260 Peachtree St., NW
Atlanta, GA 30303
Telephone: (404) 659-2880
Facsimile: (404) 659-3274
www.wigginslawgroup.com
cary@wigginslawgroup.com




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